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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


FREDERICK OMOYUMA SILVER,                        §
                                                 §
                  Plaintiff,                     §                SA-19-CV-00284-XR
                                                 §
vs.                                              §
                                                 §
HENRY J. BEMPORAD,                               §
ADMINISTRATIVE OFFICE OF THE                     §
UNITED STATES COURTS,                            §
                                                 §
                  Defendants.                    §
                                                 §

                                            ORDER

       On this date, the Court considered the Report and Recommendations of the United States

Magistrate Judge (docket no. 12). Because Plaintiff Frederick Omoyuma Silver is proceeding in

forma pauperis (IFP), the case was automatically referred to the Magistrate Judge, and the

Magistrate Judge screened Silver’s Complaint pursuant to 28 U.S.C. § 636(b) and the docket-

management order entered by this Court on September 29, 2017. That order provides that all

cases in which a plaintiff seeks to proceed IFP shall be automatically referred to a Magistrate

Judge for disposition of the application to proceed IFP and for a prompt recommendation if it

appears the case should be dismissed pursuant to 28 U.S.C. § 1915(e).

       After screening Silver’s Complaint, the Magistrate Judge recommends that the Court

dismiss the case as frivolous and for failure to state a claim upon which relief may be granted

pursuant to 28 U.S.C. §1915(e). The Magistrate Judge further recommends classifying Silver as

a vexacious litigant and issuing a pre-filing injunction and a warning that financial sanctions may

be imposed for further frivolous filings in any new or pending case. Plaintiff has responded to

the Report and Recommendation by claiming it is void on its face.


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                                           ANALYSIS

       Construing Silver’s response as objections, the Court will conduct a de novo review.

Silver filed this action on March 19, 2019, asserting claims against Magistrate Judge Henry

Bemporad and the Administrative Office of the United States Courts as his employer. Silver

alleges that Judge Bemporad inaccurately described certain facts in his previous case, Silver v.

Perez, et al., No. 5-18-CV-1307-FB (W.D. Tex.), which Silver contends caused the District

Judge to dismiss the litigation. Plaintiff objects to having his case screened under 28 U.S.C. §

1915(e) because he is not a prisoner and contends that Magistrate Judge Farrer “did not even

state if he is practicing law from the bench and acting as the defense attorney for the defendant.”

Docket no. 13. However, Plaintiff’s objections to the screening and recommendation process

have no merit.

       Section 1915(a) of Title 28 enables an indigent person to bring an IFP action in federal

court without paying costs, but section 1915(e)(2) prevents abuse of the privilege by authorizing

the Court to dismiss the case if the allegation of poverty is untrue or if the action is frivolous or

malicious, fails to state a claim on which relief may be granted, or seeks monetary relief against

a defendant who is immune from such relief. 28 U.S.C. § 1915(a), (e)(2). A district court is

vested with especially broad discretion in determining whether a dismissal under §

1915(e)(2)(B)(i) for frivolousness is warranted, and dismissal is appropriate where the complaint

has no realistic chance of ultimate success. Bailey v. Johnson, 846 F.2d 1019, 1021 (5th Cir.

1988); George v. King, 837 F.3d 705, 707 (5th Cir. 1988). In determining whether a complaint

fails to state a claim under § 1915(e)(2)(B)(ii), the Court applies the same standards governing

dismissals under Rule 12(b)(6). See DeMoss v. Crain, 636 F.3d 145, 152 (5th Cir. 2011); Bell

Atl. Corp. v. Twombly, 550 U.S. 544 (2007).



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       Section 1915(e)(2) provides that “the court shall dismiss the case at any time if the court

determines that . . . the action . . . is frivolous or malicious [or] fails to state a claim on which

relief may be granted.” 28 U.S.C. § 1915(e)(2) (emphasis added); Lewis v. Sec’y of Pub. Safety

& Corr., 508 F. App’x 341, 343 (5th Cir. 2013). A dismissal “at any time” includes at the

initiation of the action, before the defendant has appeared. Green v. McKaskle, 788 F.2d 1116,

1119 (5th Cir. 1986). Further, the duty and power to review and dismiss IFP proceedings under §

1915(e) is not limited to prisoner litigation. See, e.g., Burse v. Sullivan, 980 F.2d 1444 (5th Cir.

1992) (social security appeal); see also Haqq v. Tex. Dept. of Human Servs., No. EP-07-CA-

0156-FM, 2007 WL 1958611, at *1 (W.D. Tex. June 29, 2007) (“Section 1915(e)(2)(B) applies

to both prisoner and non-prisoner in forma pauperis cases.”).

       Thus, screening a non-prisoner IFP complaint to determine whether it is frivolous or fails

to state a claim is sanctioned by § 1915. Further, pursuant to this Court’s standing order, the

motion to proceed IFP and accompanying screening were automatically referred to Magistrate

Judge Farrer. Thus, Plaintiff’s assertion that Judge Farrer’s Report and Recommendation is void

is baseless. Although Plaintiff correctly asserts that he is entitled to a final disposition by an

Article III Judge, a Magistrate Judge has authority to conduct the screening and make a

recommendation thereon to the District Judge. That is what has occurred in this case.

       Turning to the merits of Plaintiff’s claims in this action, Plaintiff asserts that Magistrate

Judge Henry Bemporad misrepresented facts and should have recused himself in Silver’s prior

litigation. He asserts a claim for “Malice and Malicious,” asserting that Judge Bemporad acted

with clear malice and malicious intent while stating inaccurate information to District Judge Fred

Biery, a claim for “Fraud Upon the Court” based on Judge Bemporad’s failure to recuse, and a

claim under the Federal Tort Claims Act (FTCA).



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       The Report and Recommendation correctly notes that Magistrate Judge Bemporad has

absolute judicial immunity for the actions of which Silver complains, and that he had jurisdiction

to conduct the proceedings in Silver’s case pursuant to Judge Biery’s referral and applicable

statutes. See 28 U.S.C. § 636. Although Silver did not consent to Magistrate Judge jurisdiction,

Judge Bemporad did not issue any final orders in his case, and had statutory authority to issue the

Report and Recommendations to Judge Biery. District Judge Biery, not Magistrate Judge

Bemporad, issued the dispositive rulings on Silver’s claims. Further, Judge Biery analyzed the

issue of recusal and found that Judge Bemporad did not err in denying Silver’s motion to recuse.

Silver’s remedy for his disagreement with these rulings is by appeal. Thus, the Court finds

Plaintiff’s claims against Magistrate Judge Bemporad to be frivolous.

       Silver’s claims against the Administrative Office (AO) are also frivolous, as Silver fails

to allege any facts establishing possible liability on the part of the AO. Further, the AO would

enjoy sovereign immunity, and to the extent Plaintiff is pursuing a claim against the AO under

the FTCA, Plaintiff fails to allege that he has exhausted administrative remedies under the

FTCA, a jurisdictional prerequisite to suit under the FTCA.

       Plaintiff’s claims against Judge Bemporad and the AO are frivolous and fail to state a

claim for relief. The Court DISMISSES Plaintiff’s claims pursuant to 28 U.S.C. §1915(e).

            PRE-SUIT INJUNCTION & MONETARY SANCTION WARNING

       The Court next considers the recommendation to classify Silver as a vexatious litigant

and to issue a pre-filing injunction and a monetary sanction warning. The Report and

Recommendation details Plaintiff’s litigation history in this Court, noting that he has filed six

cases in the past few years, all of which have been dismissed at the pleadings stage and that, in




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each case, Silver engaged in frivolous motion practice. Based on his history, the Court agrees

that Silver should be classified as a vexatious litigant.

        Plaintiff was previously warned by Judge Biery in Silver v. Toyota Motor Manufacturing,

No. 5-18-cv-171-FB (docket no. 40) of possible sanctions, including a prefiling injunction or an

award of attorney’s fees, if he continued to file additional frivolous lawsuits. Plaintiff was further

warned by Magistrate Judge Farrer in this case in his April 1 Show Cause Order of the

possibility of sanctions, and was provided an opportunity to respond to Judge Farrer’s Report

and Recommendations on this issue, but failed to do so.

        Federal Rule of Civil Procedure 11(b) provides in relevant part that:

        By presenting to the court a pleading, written motion, or other paper—whether by
        signing, filing, submitting, or later advocating it—an attorney or unrepresented
        party certifies that to the best of the person’s knowledge, information, and belief,
        formed after an inquiry reasonable under the circumstances:

        (1) it is not being presented for any improper purpose, such as to harass, cause
            unnecessary delay, or needlessly increase the cost of litigation; [and]

        (2) the claims, defenses, and other legal contentions are warranted by existing law
        or by a nonfrivolous argument for extending, modifying, or reversing existing law
        or for establishing new law.

FED. R. CIV. P. 11(b). Violations of this Rule subject a litigant to sanctions, including

non-monetary ones, with the goal of “deter[ring] repetition of the conduct.” FED. R. CIV.

P. 11(c)(4). This Rule gives district courts wide discretion in determining what sanctions

are appropriate. See Thomas v. Capital Sec. Servs., Inc., 836 F.2d 866, 877 (5th Cir.

1988). Further, a court may order a party to show cause why conduct has not violated

Rule 11 and impose these sanctions sua sponte. FED R. CIV. P. 11(c)(3).

        In addition to the Rules, federal courts have inherent power to sanction abusive

litigation practices “to protect the efficient and orderly administration of justice and . . . to



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command respect for [their] orders, judgments, procedures, and authority.” In re Stone,

986 F.2d 898, 902 (5th Cir. 1993). Within this inherent authority is the ability to issue a

pre-filing injunction to deter vexatious filings with the court. Baum v. Blue Moon

Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008). When determining whether the

imposition of a pre-filing injunction would be appropriate, the court must weigh all

relevant circumstances, including four main factors:

       the party’s history of litigation, in particular whether he has filed
       vexatious, harassing, or duplicative lawsuits; (2) whether the party had a
       good faith basis for pursuing the litigation, or simply intended to harass;
       (3) the extent of the burden on the courts and other parties resulting from
       the party’s filings; and (4) the adequacy of alternative sanctions.

Id. (internal quotations omitted). If issued, such injunctions “must be tailored to protect

the courts and innocent parties, while preserving the legitimate rights of litigants.” Id.

       As to a pre-suit injunction being a proper sanction, Judge Farrer’s Show Cause

order and Report and Recommendations gave Silver notice that the Court was

considering this injunction as a potential sanction, satisfying the notice requirement of

Fed. R. Civ. P. 11(c)(3) for a court issuing sanctions sua sponte and set forth in Baum.

Further, the relevant factors all support issuing such an injunction, as detailed in Judge

Farrer’s Report. In short, the Court agrees that Silver has a history of filing harassing and

duplicative lawsuits without good faith basis; his filings have imposed significant

burdens on the Court; and lesser sanctions would not adequately deter his conduct.

Accordingly, the Court issues a pre-filing injunction.

       Further, because Silver already has other pending litigation in this Court, he is

warned that further frivolous filings or motions in those cases or any future filed or

removed case may also result in the imposition of monetary sanctions.



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                            CONCLUSION and ORDERS

       The Recommendations of Magistrate Judge Farrer are ACCEPTED. Plaintiff

Silver’s case is DISMISSED as frivolous and for failure to state a claim upon which

relief may be granted. The Clerk shall issue a separate judgment pursuant to Rule 58.

       Plaintiff is further ENJOINED from filing any civil lawsuit in the San Antonio

Division of the United States District Court for the Western District of Texas unless

he first seeks leave and obtains permission from a district judge in this district.

Before filing any new lawsuit in this district and division, Silver must file a motion for

leave to file the action, along with a proposed complaint, which motion shall be randomly

assigned to a Judge in the division for disposition. The Clerk is instructed to not accept

any new lawsuit filed by Silver in this division unless and until such motion is filed and

granted.

       Because Silver has other pending litigation in this Court and may have future

cases removed to this Court, he is also WARNED that further frivolous filings or

motions in those pending cases or any future filed or removed case may also result

in the imposition of monetary sanctions.

       SIGNED this 18th day of April, 2019.




                                           _________________________________

                                           XAVIER RODRIGUEZ
                                           UNITED STATES DISTRICT JUDGE




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